Case 1:18-cv-00172-DBH Document 1-4 Filed 04/25/18 Pagelof2 PagelD#: 14
Ensuring affordable, tong term, environmentally sound disposal of MSW

   
 
 
   
 

miracle nea ee Tt

 

ha

866-254-3507

207-664-1700 Voice

207-667-2099 Fax
glounder@mrcmaine.org & E-mall

(EES nee ae ee tate ie Gee Ty pep

a 395 State Street
gw Ellsworth, ME 04605

   

Comments of Municipal Review Committee, Inc. in Support of the Fiberight LLC Tax-
Exempt Bond Inducement Application .

FAME Public Hearing on Pending Application of Fiberight LLC - February 20, 2017

Mr. Chairman, FAME Board Members and Staff:

Good morning and thank you for recognizing me to provide comment today. My name is Greg
Lounder and J am the executive director of the Municipal Review Committee, Inc. (MRC). I
have served in this capacity for over 22 years. I’il begin with background on why MRC is here
today in speaking in support of Fiberight’s application pending before you.

MRC was created in 1991 following a major contract restructuring with PERC and the long term
MSW disposal contract municipalities. The organization’s mission was to ensure affordable,
long term, environmentally sound disposal on MSW for its member communities and it remains
the same today 25 years later. MRC’s role was to monitor PERC operations and profitability - as
the MRC negotiated revenue sharing rights for the communities.

  

The as again involved in a second maj miract restructuring in 1998 that centered

‘ around $48,000,000 refinancing by FAME undey'the Electric Rate Stabilization Act. At this
time, MRC became-the-agent and Ownership representative for 86 entities known as Equity
Charter Municipalities. This group of communities collectively owns 23 percent of the limited
partnership ititerests in PERC. A three member Oversight Committee overseés PERC’s business
as set forth in the Partnership Agreement. I have been the MRC member on PERC’s Oversight

Committee since 2001.
Case 1:18-cv-00172-DBH Document 1-4 Filed 04/25/18 Page 2of2 PagelD#: 15

The long known end date of the existing waste disposal agreements and PERC Partnership is
March 31, 2018. MRC began planning for the post 2018 era in earnest in 2009. Following
negotiations with our current Partners, MRC solicited proposals from a wide range of processing

technology vendors.

Before proceeding further, it is important to note that MRC and PERC’s private partners have
recently entered into a settlement agreement that includes terms for a complete windup of the
PERC Partnership effective March 31, 2018. The attached Settlement Agreement includes a non-
disparagement clause that states in part: “from the date of execution of this agreement going
forward, no party, or legally or contractually related entity of any party, shall by either
words or conduct disparage, or suffer or permit disparagement of, any other parties efforts
to provide or procure municipal solid waste disposal services, now or in the future” This

commitment may constrain my ability to answer certain questions.

The Fiberight proposal was the most favorable choice from all of the alternatives. The $70 ton
figure represents a $63,000,000 savings over the first 15 years compared to the best available
alternative for the 115 Joining Members that committed to MRC/Fiberight.

I now turn to the criteria which I understand apply to FAME’s consideration of the Fiberight
application.

MRS 10 §1043 2. Criteria

Criteria A. relates to economic growth, pollution control and the health safety and welfare of
the inhabitants of the State. The attached DEP processing facility license approval contains
numerous findings and conclusions of no adverse impacts on air, water and land quality and a
number of other factors relating to public, health, safety and welfare. This provides clear

evidence of consistency with this criteria.

Criteria B. relates to whether the project results in a substantial detriment to existing business.
A couple of years ago, MRC needed to make choices relating to the existing business that it is
part owner of, and the decision was made to move forward with the development of a new
facility. Pll note that PERC’s existing business winds up March 31, 2018 so this application

would bring no detriment to existing business.
